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                                                       May 13, 2025
VIA CM/ECF
The Honorable Lee G. Dunst
U.S. District Court Magistrate Judge
U.S. District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

       Re:     Flagstar Financial & Leasing, LLC v. Freightworks, LLC, et al,
               Case No.: 2:24-cv-08205-LGD

Dear Judge Dunst:

        This office represents Plaintiff Flagstar Financial & Leasing, LLC f/k/a Signature
Financial, LLC (“Plaintiff”), the plaintiff in the above-referenced action. Plaintiff and Defendants
Freightworks, LLC d/b/a Freightworks Transportation & Logistics and Joshua B. Farmer
(collectively “Defendants,” and together with Plaintiff, the “Parties”), respectfully submit this joint
status letter in accordance with the Court’s April 28, 2025 Order.

       We apologize to the Court for the delay in submitting this joint status report. As
background, this action was commenced by the filing of a Complaint by Plaintiff against
Defendants on November 26, 2024. A Summons was issued the same day. By Order dated March
3, 2025, the Court approved the Parties’ stipulation extending Defendants’ time to answer or
otherwise move with respect to the Complaint through and including April 7, 2025.

        The Parties respectfully advise the Court that all collateral has now been sold. Plaintiff and
Defendant Joshua B. Farmer are presently engaged in discussions concerning a potential
settlement. In light of these ongoing discussions, the Parties respectfully request that the Court
grant a further 30-day extension of Defendants’ deadline to answer, move, or otherwise respond
to the Complaint, to allow additional time to determine whether this matter can be resolved without
the need for continued litigation.

       We thank the Court for its attention to this matter and are available should Your Honor
have any questions or require additional information.
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Respectfully submitted,

 Bronster, LLP                                Joshua B. Farmer
 Attorneys for Plaintiff                      Defendant


  s// J. Logan Rappaport______                s// Joshua B. Farmer______
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